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                      IN THE UNITED STATED DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


ROTHSCHILD PATENT IMAGING LLC §
                                    §
      Plaintiff,                    §                Case No: 2:16-cv-958-RWS
                                    §
vs.                                 §                LEAD CASE
                                    §
JK IMAGING, LTD.                    §
                                    §
      Defendants.                   §
___________________________________ §

 UNOPPOSED MOTION TO DISMISS DEFENDANT JK IMAGING, LTD. WITHOUT
                           PREJUDICE

       Plaintiff Rothschild Patent Imaging, LLC hereby moves to dismiss this civil action

without prejudice pursuant to Fed. R. Civ. P. 41 (a)(1)(a)(i). Plaintiff notes that Defendant has

filed neither an answer nor a motion for summary judgment.

       Wherefore, Plaintiff requests that the Court dismiss Plaintiff’s claims without prejudice.
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Dated: October 24, 2016                    Respectfully submitted,


                                           /s/ Jay Johnson
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                                           ATTORNEYS FOR PLAINTIFF


                           CERTIFICATE OF CONFERENCE

The undersigned certifies that on October 24, 2016, he met and conferred with counsel for
Defendant concerning this motion and that Defendant’s counsel agreed to the motion.

                                           /s/ Jay Johnson
                                           Jay Johnson


                               CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of this document has been served on all
counsel of record via electronic mail through Local Rule CV-5(a) on October 24, 2016.

                                           /s/ Jay Johnson
                                           Jay Johnson
